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               IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF FLORIDA
                         TAMPA DIVISION

MICHAEL REITERMAN,

          PLAINTIFF,
          COUNTERDEFENDANT            Case No.: 8:19-CV-02282-WFJ-AAS

V.

FARAH ALI ABID,

    DEFENDANT,
    COUNTERPLAINTIFF.
___________________________________/

     DEFENDANT’S ANSWER, AFFRIMATIVE DEFENSES, AND
                    COUNTERCLAIM
          COMES NOW the Defendant, FARAH ALI ABID, by and through the

undersigned counsel, hereby files her Answer, Affirmative Defenses, and

Counterclaim as a Responsive Pleading to Plaintiff’s Complaint (ECF Doc. 1)

and would state as follows:


                       PARTIES, JURISDICTON AND VENUE


     1.     Admitted for jurisdictional purposes only.

     2.     Admitted for jurisdictional purposes only.

     3.     Admitted for jurisdictional purposes only.

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   4.    Admitted for jurisdictional purposes only, otherwise denied.

                        FACTS COMMON TO ALL COUNTS

   5.    Unknown, therefore denied.

   6.    Denied.

   7.    Denied.

   8.    Denied.

   9.    Unknown, therefore denied.

   10.   Denied.

   11.   Unknown, therefore denied.

   12.   Denied.

                          The Parties Meet in Florida, etc.

   13.   Admitted.

   14.   Denied.

   15.   Denied.

   16.   Denied.

   17.   Unknown, therefore denied.

   18.   The Tampa Police report speaks for itself, otherwise denied.

   19.   Unknown, therefore denied.


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                           Ms. Abid’s Alleged “Campaign”

   20.   Denied.

   21.   Denied, as to introduction and “a” through “h” denied.

   22.   Denied.

   23.   Unknown, therefore denied.

   24.   Denied.

   25.   Denied.

   26.   Denied.

   27.   Unknown, therefore denied.

   28.   Denied.

   29.   Denied.

   30.   Denied.

   31.   Denied.

   32.   Denied.

   33.   Denied.

   34.   Denied.

   35.   Denied.

   36.   Denied.


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   37.   Denied.

   38.   Denied.

   39.   Denied.

   40.   Denied.

   41.   Denied.

   42.   Denied.

                        Mr. Reiterman’s Diligent Efforts, etc.

   43.   Unknown, therefore denied.

   44.   Unknown, therefore denied.

   45.   Unknown, therefore denied.

   46.   Unknown, therefore denied.

   47.   Unknown, therefore denied.

   48.   Unknown, therefore denied.

   49.   Unknown, therefore denied.

                      Mr. Reiterman’s Two Prior Lawsuits, etc.

                                The Florida Lawsuit

   50.   Admitted that the suit was filed, otherwise denied.

   51.   Settlement discussions are confidential, otherwise denied.


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   52.   Settlement discussions are confidential, otherwise denied.

   53.   The Settlement Agreement speaks for itself, otherwise denied.

   54.   Unknown, therefore denied.

   55.   Settlement discussions are confidential, otherwise denied.

   56.   Settlement discussions are confidential, otherwise denied.

   57.   The Settlement Agreement speaks for itself, otherwise denied.

   58.   The Settlement Agreement speaks for itself, otherwise denied.

   59.   Unknown, therefore denied.

   60.   Unknown, therefore denied.

   61.   Unknown, therefore denied.

   62.   Denied.

   63.   Denied.

   64.   Denied.

                               The California Lawsuit

   65.   Unknown, therefore denied.

   66.   Unknown, therefore denied.

   67.   Unknown, therefore denied.

   68.   Admitted.


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   69.   Admitted that the California lawsuit was dismissed.

   70.   Unknown, therefore denied.

                        Discovery From Prior Litigation, etc.

   71.   Denied, in its entirety “a” through “d.”

   72.   Denied, and the PI’s sworn statement is denied.

   73.   Unknown, therefore denied.

   74.   Unknown, therefore denied.

   75.   The demand letter speaks for itself, otherwise denied.

   76.   Abid’s response speaks for itself, otherwise denied.

   77.   Denied.

                                       COUNT I

                       Fraudulent Inducement and Rescission

   78.   Ms. Abid incorporates by reference each and every response set

         forth in the foregoing paragraphs.

   79.   Denied.

   80.   Unknown, therefore denied.

   81.   Unknown, therefore denied.

   82.   Unknown, therefore denied.


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   83.   Unknown, therefore denied.

   84.   Case law speaks for itself, otherwise denied.

   85.   Denied.

   86.   The request speaks for itself, otherwise denied.

                                      COUNT II

                           Fraudulent Misrepresentation

   87.   Ms. Abid incorporates by reference each and every response set

         forth in the foregoing paragraphs.

   88.   Denied.

   89.   Denied.

   90.   Denied.

   91.   Denied.

   92.   The request speaks for itself, otherwise denied.




                                     COUNT III

                                 Breach of Contract

   93.   Ms. Abid incorporates by reference each and every response set

         forth in the foregoing paragraphs.


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   94.   The alternative pleading speaks for itself, otherwise denied.

   95.   The Settlement Agreement is confidential, otherwise denied.

   96.   The Settlement Agreement is confidential, otherwise denied.

   97.   Denied.

   98.   Denied.

   99.   The request speaks for itself, otherwise denied.

                                     COUNT IV

                                 Defamation Per Se

   100. Ms. Abid incorporates by reference each and every response set

         forth in the foregoing paragraphs.

   101. Denied.

   102. Denied.

   103. Unknown, therefore denied.

   104. Unknown, therefore denied.

   105. Unknown, therefore denied.

   106. Denied.

   107. The statements speak for themselves, otherwise denied.

   108. Unknown, therefore denied.


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   109. Unknown, therefore denied.

   110. Unknown, therefore denied.

   111.   Denied.

   112. The request speaks for itself, otherwise denied.

   113. The request speaks for itself, otherwise denied.

                                      COUNT V

                                Defamation Per Quod

   114. Ms. Abid incorporates by reference each and every response set

          forth in the foregoing paragraphs.

   115. Ms. Abid incorporates by reference each and every response to

          Count IV as they pertain to Count V.

   116. The request speaks for itself, otherwise denied.

   117. The request speaks for itself, otherwise denied.

                                      COUNT VI

                       Tortious Interference with Relationships

   118. Ms. Abid incorporates by reference each and every response set

          forth in the foregoing paragraphs.

   119. Unknown, therefore denied.


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    120. Denied.

    121. Denied.

    122. Unknown, therefore denied.

    123. Denied.

    124. The request speaks for itself, otherwise denied.

                                      COUNT VII

                      Intentional Infliction of Emotional Distress

    125. Ms. Abid incorporates by reference each and every response set

          forth in the foregoing paragraphs.

    126. Denied.

    127. Denied.

    128. Unknown, therefore denied.

    129. The request speaks for itself, otherwise denied.

                                 PRAYER FOR RELIEF


       WHEREFORE, the Defendant. Farah Abid respectfully requests this

 Court deny any relief as requested by Plaintiff.


                         AFFIRMATIVE DEFENSES



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         Defendant asserts the following affirmative defenses as full and

 complete defenses to all claims asserted by the Plaintiff in the operative

 Complaint, and would state as follows:


    1.     Plaintiff’s Complaint, and each and every cause of action set forth

           therein, fails to state a cause of action against Defendants.


    2.     Defendant states that Plaintiff’s alleged injuries were caused, in

           whole or in part, by the negligence of a third party whom Defendant

           had no control over, and liability should be apportioned to these

           third parties pursuant to Fabre v. Marin, 623 So.2d 1182 (Fla. 1993)

           and its progeny.


    3.     Defendant states that Plaintiff’s damages, if any, assessed against

           Defendant, should be reduced because of Plaintiff’s comparative

           and/or contributory negligence in engaging in conduct wholly or

           partially created Plaintiff’s damages.


    4.     The Defendant asserts that, while the Defendant denies that the

           Plaintiff is entitled to any recovery whatsoever, to the extent that the

           Plaintiff’s alleged damages are caused, in whole or part, by third


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          parties who are not parties to this action, liability shall be

          apportioned according to fault, irrespective of whether such third

          parties become parties to this action.


    5.    Defendant states that Plaintiff failed to mitigate any of the damages

          allegedly sustained by Plaintiff.


    6.    Plaintiff assumed the risk of any damage from any source based

          upon his intentional misconduct.


    7.    Defendant would state that each and every one of Plaintiff’s claims

          are barred by the doctrine of unclean hands. The Plaintiff’s wrongful

          conduct precludes Plaintiff from seeking relief and all claims should

          be dismissed.

    8.    Defendant states that each and every one of Plaintiff’s claims are

          barred by the doctrine of waiver.

    9.    Defendant states that each and every one of Plaintiff’s claims are

          barred by the doctrine of estoppel.

    10.   Defendant states that each and every one of Plaintiff’s claims are

          barred by the applicable statute of limitations.



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    11.   Defendant states that each and every one of Plaintiff’s claims are

          barred by the doctrine of res judicate and collateral estoppel.

    12.   Defendant states that each and every one of Plaintiff’s contract

          claims are barred by formation problems, lack of capacity, illegality

          of subject matter, impossibility, duress, unconscionability, and

          undue influence.

    13.   Defendant states that each and every one of Plaintiff’s defamation

          claims are barred because any statement made by any party

          describing the Plaintiff’s wrongful conduct is the substantial truth,

          is subject to the opinion and fair comment privilege, and also

          subject to the fair report privilege.

    14.   Defendant states that each and every one of Plaintiff’s tortious

          interference claims are barred because any statement made by any

          party describing the Plaintiff’s wrongful conduct is the substantial

          truth and any dissemination of Plaintiff’s wrongful conduct by any

          party would be a justifiable reason for any alleged interference.

    15.   Defendant states that each and every one of Plaintiff’s intentional

          infliction of emotional distress claims is barred because any


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               statement made by any party describing the Plaintiff’s wrongful

               conduct is the substantial truth and any dissemination of Plaintiff’s

               wrongful conduct would be protected by the First Amendment and

               therefore not outrageous or improper.

    16.        Defendants reserve the right to supplement these affirmative

               defenses as they may become known through discovery or the

               administration of this case.

                                      COUNTERCLAIM

          1.     Plaintiff Farah Abid (“Ms. Abid”), by and through undersigned

          counsel, hereby sues Defendant Michael Zachary Reiterman (the

          “Defendant” or “Defendant Reiterman”), seeking damages in

          connection with Defendant Reiterman’s intentional, extreme,

          outrageous, and illegal acts, as set forth below.

          2. Ms. Abid brings causes of action for malicious prosecution,

          harassment, stalking, trespass, and intentional infliction of emotional

          distress. In support of this Complaint, Ms. Abid asserts the following:

                            PARTIES, JURISDICTION & VENUE

          3.     Plaintiff Farah Abid is a citizen of Florida.


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       4.    Defendant Michael Zachary Reiterman is a resident and citizen

       of California and, upon information and belief, is domiciled with his

       parents in Santa Clara County, California.

       5.    This Court has jurisdiction over the subject matter of this

       Complaint pursuant to 28 U.S.C. § 1332(a), because this is a civil action

       where the controversy exceeds the sum of $75,000.00, exclusive of

       interest and costs, and is between citizens of different states. There is

       a complete diversity of citizenship between Ms. Abid (a Florida citizen)

       and Defendant Reiterman (a California citizen and resident).

       6.    The U.S. District Court for the Middle District of Florida is the

       proper venue for this matter pursuant to 28 U.S.C. § 1391, because

       upon information and belief, a substantial part of the events giving rise

       to the claims alleged herein, including the harassment and stalking

       campaign Defendant Reiterman has engaged in against Ms. Abid and

       her family and friends occurred within the territorial limits of the

       Middle District of Florida.

                        FACTS COMMON TO ALL COUNTS

       Introduction


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       7.    Plaintiff Ms. Abid is a law school student with big dreams and

       aspirations. Ms. Abid got into law school on a full-ride scholarship and

       during her time in law school served as president of the Muslim Law

       Student Association. She also worked as an interpreter and translator

       of five languages at her school for various legal clinics where she helped

       asylum seekers, refugees, and indigent persons who couldn’t afford

       legal counsel.

       8.    During her time in law school, Ms. Abid authored over three

       papers on tort reform to address sexual abusers who manipulate the

       legal system to harass their victims in court. She was awarded the Gold

       Public Service Award in law school for volunteering over 1,500 hours

       of her time as a law student to provide legal services to refugees (in

       particular, she spearheaded emergency legal services for Afghan

       refugees seeking asylum in America), survivors of sexual abuse, asylum

       seekers, persons facing political persecution, small business owners,

       persons falsely accused of crimes, whistleblowers, the New York City

       government, and low-income persons in need of legal help.




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       9.    Ms. Abid played a major role in the passage of a landmark

       bipartisan bill through Congress that was recently signed into law by

       President Biden. Her political acumen was so highly lauded that she

       was offered a position with a Washington, D.C.-based think tank,

       which is almost unheard of for anyone of Ms. Abid’s age. 10. Moreover,

       Ms. Abid has relied on her traumatic experiences with Defendant

       Reiterman both inside and outside of court to become a consultant for

       cases involving persons who have been sexually abused.

       10.   In fact, Ms. Abid was hired at one organization solely because of

       the experience and the perspective she has amassed as a sexual abuse

       survivor litigant in the present action, which her employer considered

       invaluable. Ms. Abid has worked for both the state and federal

       government and city-level municipalities in prestigious positions and

       has had to pass high-level security clearance for not only these

       positions, but also for the work she has done with infants.

       11.   Regrettably, as a result of Defendant Reiterman’s sexual assault

       on Ms. Abid on July 7, 2014, and the series of vicious and malicious

       attacks, which include stalking and harassment, that Defendant


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       Reiterman has instigated on Ms. Abid and her family and friends, Ms.

       Abid has suffered immense physical, psychological, and emotional

       pain.

                    The History between Reiterman and Ms. Abid

       12.     Defendant Reiterman brutally sexually assaulted and battered

       Ms. Abid

       13.     As of March 2014, Ms. Abid was a young student with dreams of

       attending law school. Ms. Abid’s grandfathers had been tribal

       administrators of justice in their respective villages, so she felt destined

       for the legal profession.

       14.     Ms. Abid is a very religious Muslim who observes the hijab, an

       Islamic headcovering, and has always been an active member of her

       Muslim community, teaching Quran at Sunday school and serving on

       the youth board of her mosque.

       15.     Ms. Abid understood that a strong score on the Law School

       Admission Test (“LSAT”) was crucial to her goals of being admitted to

       a top law school.




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       16.   Ms. Abid decided to enroll in TestMasters, a test preparation

       company, on or about April 1, 2014. The course, which would run from

       April through June 2014, took place at the Tampa, Florida campus of

       the University of South Florida.

       17.   Based on TestMasters’ reputation for success and the training

       and qualifications of TestMasters’ pool of professors, Ms. Abid’s

       parents excitedly agreed with their daughter on her choice to enroll in

       a TestMasters’ LSAT test prep course. Ms. Abid paid $1,450 for the

       course and arranged to rent an apartment near the location of the

       course so that she could optimally focus on studying for and passing

       the LSAT.

       18.   Multiple hour classes were held several times a week, and

       students were assigned lengthy homework assignments between

       classes. Ms. Abid diligently completed these assignments.

       19.   Defendant Reiterman was the TestMasters professor for Ms.

       Abid’s class. Ms. Abid was his student.




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       20.   On information and belief, TestMasters’ policies and procedures

       prohibit its professors from engaging in inappropriate personal and/or

       sexual relationships with students.

       21.   Defendant Reiterman provided his professional and personal

       email and personal cell phone number to Ms. Abid, offered to meet Ms.

       Abid outside of scheduled class hours for extra LSAT tutoring, and on

       multiple occasions did, in fact, meet with Ms. Abid outside of

       scheduled class hours.

       22.   Defendant Reiterman invited Ms. Abid to call him with LSAT

       questions on his cell phone, and Ms. Abid did so, based on the

       understanding that Defendant Reiterman had made the offer for

       additional LSAT guidance as a teacher for TestMasters. When Ms. Abid

       called Defendant Reiterman with LSAT questions, he quickly turned

       the conversation to personal          and often uncomfortable and

       inappropriate subjects after answering her LSAT questions. On

       information and belief, Defendant Reiterman arranged for these calls

       and his position with TestMasters in order to establish an

       inappropriate relationship with Ms. Abid.


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       23.   It was apparent to Ms. Abid’s classmates and others, including at

       least one other employee of TestMasters, that Defendant Reiterman

       was attempting to cultivate an inappropriate relationship with Ms.

       Abid. During a class from one of the final weeks of the LSAT prep

       course session, a substitute TestMasters professor filled in for

       Defendant Reiterman.

       24.   This substitute TestMasters’ professor made statements to Ms.

       Abid that revealed his suspicion that Defendant Reiterman had

       developed an inappropriate relationship with Ms. Abid. On yet another

       occasion, the class assistant asked Ms. Abid about Defendant

       Reiterman’s behavior.

       25.   All told, over the course of multiple weeks, Defendant Reiterman

       used the power and influence he exercised over Ms. Abid as a professor

       for TestMasters to invite her to meet with him privately outside of class

       for LSAT tutoring and to call him on his cell phone late into the night.

       26.   On June 7, 2014, Defendant Michael Reiterman invited Ms. Abid

       to his apartment. During this encounter, Reiterman brutally and

       viciously sexually assaulted Ms. Abid. Reiterman dug his nails deep


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       into Ms. Abid’s back, which created scarring. Reiterman then bit into

       Ms. Abid’s shoulders, chest, and upper arms. Reiterman physically tore

       and flayed skin off Ms. Abid’s body with his teeth, causing scars of his

       teeth imprints on Ms. Abid’s body. Reiterman rubbed his genitals up

       against Ms. Abid’s body and moaned while he did this. Reiterman

       violently kneed Ms. Abid in her crotch area multiple times and tried to

       tear her clothes off, even as she screamed and fought Reiterman off.

       27.   At one point, Reiterman took off Ms. Abid’s shoes, presumably

       to prevent her from running away. Reiterman then attempted to touch

       Ms. Abid’s private parts through her clothes to rape her, but she was

       able to fight Reiterman off of her. Reiterman then strangled Ms. Abid,

       digging his nails into Ms. Abid’s neck until she nearly blacked out.

       When Ms. Abid, who couldn’t speak at this point from exhaustion and

       terror, mouthed the words “why” to Reiterman, he replied “well it

       didn’t work.”

       28.   Reiterman then pinned Ms. Abid’s arms back and forcefully

       kissed her against her will. Reiterman then whipped Ms. Abid with his

       belt, which created welts on her back and muffled her cries by pressing


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       her face into his chest. At no point did Ms. Abid consent to this attack.

       Ms. Abid repeatedly pushed Reiterman away and screamed “No.”

       29.   Reiterman ignored Ms. Abid’s repeated rejections and pressed

       on with the assault. After Reiterman was finished assaulting and

       beating Ms. Abid, Reiterman ejaculated into his pants and told Ms.

       Abid “You did that.”

       30.   After the assault and still on June 7, 2014, Ms. Abid frantically

       phoned Dr. Carolyn Dixon, a family friend and physician, and

       requested an emergency medical visit. Dr. Dixon made a house call to

       see Ms. Abid in private and administered medical care to her. Over the

       course of the next month or so, Ms. Abid’s mother wrote out checks to

       Dr. Dixon for Ms. Abid’s medical care.

       31.   Dr. Dixon treated Ms. Abid’s lingering wounds from Defendant

       Reiterman’s sexual assault, namely the deep scratch and bite marks

       Defendant Reiterman had inflicted on her, which had become infected

       and were so excruciating that Ms. Abid couldn’t sleep on her back.

       During this time, Ms. Abid’s physical and mental condition drastically

       deteriorated to the point that her family no longer recognized her.


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       32.   Ms. Abid had always been outgoing, physically active, and

       enjoyed spending time with her friends at the beach. After June 7,

       2014, Ms. Abid locked herself in her closet, constantly cried for

       sometimes hours or nights on end, lost an alarming amount of weight,

       stopped sleeping, and began engaging in self-harm and suicidal

       tendencies. Because Ms. Abid became so nutritionally deficient during

       this time, the wounds Defendant Reiterman inflicted on her body

       wouldn’t heal. Other family members and friends, and even

       acquaintances noticed the sudden drastic change in Ms. Abid and

       mentioned it to her parents, who were growing increasingly worried.

       33.   After a life-threatening incident, Ms. Abid’s parents pushed her

       into therapy, where she was diagnosed with Post-Traumatic Stress

       Disorder (“PTSD”), depression, and anxiety as a direct result of

       Defendant Reiterman assaulting her. Dr. Dixon recommended to Ms.

       Abid’s mother that Ms. Abid be taken into a medical rehabilitation

       facility because her mental and physical condition had deteriorated so

       badly.




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       34.   In September of 2014, months after the assault, Defendant

       Reiterman texted Ms. Abid to ask what she had done for the rest of the

       summer and if she had taken the LSAT. Ms. Abid didn’t respond and

       blocked his email and phone number. She then threw her phone into a

       nearby planter and began sobbing on the floor of her family’s living

       room.

       35.   Ms. Abid was unable to complete the TestMasters course and did

       not take the LSAT that year or any year for that matter.

       36.   As a result of the emotional and physical damage Ms. Abid

       suffered from Defendant Reiterman’s assault and battery, for nearly a

       year, Ms. Abid’s parents spent a considerable sum of money for her to

       attend individualized therapy and group therapy sessions and

       arranged for appointments with a nutritionist and various medical

       practitioners.

       37.   Ms. Abid’s parents were forced to prematurely terminate the

       lease on the Tampa apartment that Ms. Abid was residing in during her

       the time she was prepping for the LSAT with Testmasters because she

       was too traumatized to return to it. Ms. Abid’s therapist provided a


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       letter to the apartment’s management explaining that Ms. Abid had

       been sexually assaulted and because of her trauma could no longer

       return to the apartment because it triggered flashbacks.

       38.   Any LSAT preparation Ms. Abid attempted after Defendant

       Reiterman sexually assaulted her triggered her memories of the sexual

       assault and resulted in painful flashbacks that were paralyzing. Indeed,

       Ms. Abid was only able to apply for law school admission in 2019 once

       law schools began accepting the Graduate Record Examination

       (“GRE”) as an alternative to the LSAT.

       39.   Over the course of a very difficult year for both Ms. Abid and her

       family, Ms. Abid slowly showed signs of improvement, though she

       would continue to be in treatment, all of which her parents paid for, for

       many more years to recover from Defendant Reiterman’s violent

       sexual assault.

       40.   The women of Ms. Abid’s therapy group encouraged Ms. Abid to

       hold Defendant Reiterman accountable for the devastating sexual

       assault he inflicted on her, and when Ms. Abid did report the assault to




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       the Tampa Police Department, she was accompanied by a friend from

       her therapy group for emotional support.

       41.   The Tampa Police Department told Ms. Abid that because a year

       had passed since she was assaulted, no charges would be filed against

       Defendant Reiterman. However, the officers encouraged Ms. Abid to

       put her assault on record because they found Defendant Reiterman’s

       behavior particularly egregious and disgusting.

         In 2016, Reiterman Offers to Pay Ms. Abid Damages for

         Sexually Assaulting Her; Reiterman’s Former Employer

         Offers to Pay Ms. Abid Damages for Reiterman’s Sexual

                                     Assault

       42.   Around the Spring of 2016, Ms. Abid, with support from the

       women of her therapy group, all of whom had experienced some form

       of sexual abuse, sought, and retained pro bono counsel, an attorney

       nationally renowned for representing sexual assault victims, through

       the Florida Council Against Sexual Violence in the hopes of holding

       Defendant Reiterman accountable for sexually assaulting her.




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       43.   While Defendant Reiterman and his retained counsel initially

       scoffed at Ms. Abid’s claims, Defendant Reiterman quickly changed his

       tone after reviewing a few of Ms. Abid’s witness statements, many of

       which included persons who personally saw the extent of Ms. Abid’s

       shocking physical injuries, a few therapy records, and some

       photographs taken by a professional forensic photographer of the

       intense scarring Defendant Reiterman inflicted on Ms. Abid’s body.

       44.   Defendant Reiterman offered Ms. Abid $5,000. Defendant

       Reiterman claimed that though he endeavored to pay Ms. Abid at least

       $150,000 if he were able, all he could afford at the time was $5,000

       because he had big loans and down the road intended to go into a field

       of public law that didn’t pay well. Defendant Reiterman also told Ms.

       Abid that he was “judgment proof.”

       45.   Around September of 2016, TestMasters contacted Ms. Abid to

       inquire about their disgraced former employee, Michael Zachary

       Reiterman. Ms. Abid had not told TestMasters about the assault at this

       point. Through counsel, Ms. Abid sent TestMasters some witness

       statements, evidence, and records, and provided a statement to


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       TestMasters of how Defendant Reiterman viciously and brutally

       sexually assaulted and beat her. TestMasters offered Ms. Abid a sum of

       money for damages.

       46.   During this time, Ms. Abid learned from TestMasters that they

       had fired Defendant Reiterman in June of 2016, well before

       TestMasters contacted Ms. Abid. Testmasters found Defendant

       Reiterman’s behavior shocking to the conscience and repulsive and

       described him as an employee with a poor track record.

       47.   In 2018, Reiterman Launches His Devastating and Malicious

       Campaign of Harassment, Stalking, and Abuse Against Ms. Abid and

       Her Family

                      A.    The First Florida Lawsuit — 2018

       48.   On April 4, 2018, Defendant Reiterman sued Ms. Abid, claiming

       she had published a series of defamatory blog posts that painted

       Defendant Reiterman as a racist serial rapist who sexually abused

       women. Defendant Reiterman further blamed Ms. Abid for nearly

       every misfortune that had befallen him while he was a student at




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       Harvard Law School. Some of these “misfortunes,” as detailed by

       Defendant Reiterman himself in his lawsuit include:

            a.    Rumors that were spread on Harvard Law School’s campus

            that Defendant Reiterman was a serial rapist.

            b.     Title IX complaints filed by other students against

            Defendant Reiterman on Harvard Law School’s campus.

            c.    Emails   sent   from     the   anonymous    email   address

            harvardlawstudent123456789@gmail.com             to   Defendant

            Reiterman’s professors, friends and peers claiming to be a 3rd

            year law student who didn’t feel safe coming to class because she

            believed Defendant Reiterman was a “psychotic sadist.”

            d.    A petition launched on Change.org urging the Dean of

            Harvard Law School to expel Defendant Reiterman from

            campus.

            e.    A female student at Harvard Law School writing an email

            to the Deans and Title IX coordinators demanding Defendant

            Reiterman be expelled from campus because he posed a risk to

            women on campus.


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             f.   Defendant Reiterman’s former employer and Harvard Law

             School receiving a flood of calls about Defendant Reiterman’s

             sexual misconduct.

       49.   Ms. Abid has absolutely nothing to do with the aforementioned.

       Ms. Abid did not create any defamatory material about Defendant

       Reiterman online and denied all of his baseless accusations. Moreover,

       in the United States, only students enrolled at the same school can file

       Title IX claims, which exclusively concern sexual violence against a

       fellow student. Ms. Abid was not an enrolled student at Harvard Law

       School.

       50.   Harvard’s Title IX policy limits the school’s jurisdiction to

       misconduct that occurs either on Harvard property or off Harvard

       property if: “a) the conduct was in connection with a University or

       University-recognized program or activity; or b) the conduct may have

       the effect of creating a hostile environment for a member of the

       University community.”

       51.   From the moment Defendant Reiterman filed the lawsuit against

       Ms. Abid until the day the lawsuit was dismissed, Defendant


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       Reiterman’s counsel demanded that Ms. Abid sign a sworn affidavit

       stating that Defendant Reiterman never sexually assaulted Ms. Abid

       and that she created all the defamatory Internet postings about him.

       Defendant Reiterman’s counsel also demanded all of Ms. Abid’s

       journals. Ms. Abid steadfastly refused to write the statement and

       continually asserted the truth — Defendant Reiterman did sexually

       assault Ms. Abid and she played no part in the defamatory material

       that had been posted about Defendant Reiterman nor did she share any

       defamatory statements about Defendant Reiterman on Harvard Law

       School’s campus.

       52.   In June of 2018, while Ms. Abid was seeking counsel, Defendant

       Reiterman’s counsel emailed her stating that he wanted to personally

       speak to her, but that if she didn’t want to talk to him to discuss

       Defendant Reiterman’s demands, he was going to litigate the matter.

       Ms. Abid forwarded his email to a few attorneys from a nationally

       renowned firm that the Legal Network for Gender Equity and the

       TIME’s UP Legal Defense Fund had referred her to, who found the

       email appalling and reminiscent of the strategy used by Harvey


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       Weinstein’s legal team to pressure young women he had sexually

       abused into signing non-disclosure agreements.

       53.   Through the National Women’s Law Center and the Victim

       Rights Law Center, Ms. Abid was able to retain Quarles Brady and

       Goodwin Procter as pro bono counsel.

       54.   In May of 2018, The Executive Director of the Victim Right’s Law

       Center, the most renowned legal center in the United States for victims

       of sexual abuse, sent a letter to Harvard Law School’s Title IX

       Coordinator, General Counsel, and the Dean of Students to investigate

       Reiterman out of concern for what they believed was Defendant

       Reiterman’s pattern of victimization specifically targeting girls from

       immigrant families and the safety risk he posed to the Harvard Law

       School community. Harvard Law School declined to discuss Defendant

       Reiterman’s case.

       55.   Around May of 2018, Defendant Reiterman’s counsel once again

       demanded that Ms. Abid sign a sworn affidavit stating that Defendant

       Reiterman never sexually assaulted her and that she had created all the

       defamatory Internet postings. Ms. Abid steadfastly refused.


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       56.     Defendant Reiterman agreed to settle with Ms. Abid when her

       counsel informed him that they planned on filing counterclaims for

       sexual assault and battery.

       57.     In 2018, Reiterman agrees for the second time to pay Ms. Abid

       damages for sexually assaulting her and foregoes his employment

       opportunity at Skadden.

       58.     On June 26, 2018, Defendant Reiterman and Ms. Abid engaged

       in a settlement conference in which Defendant Reiterman was

       represented by not only Florida counsel, but also Skadden, Arps, Slate,

       Meagher & Flom (“Skadden”), a nationally renowned law firm based in

       New York, and Defendant Reiterman’s prospective employer at the

       time.

       59.     At the conclusion of the settlement conference, Defendant

       Reiterman agreed to pay Ms. Abid $25,000, and also agreed that in the

       event he became a licensed and practicing attorney and found

       employment with a law firm, he would pay “double the amount of the

       monthly installment each month following his first full month of




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       employment at said law firm.” Defendant Reiterman also agreed to

       dismiss the lawsuit he had filed against Ms. Abid.

       60.   Ms. Abid’s counsel agreed to dismiss the lawsuit they filed

       against TestMasters for negligently supervising Defendant Reiterman

       during his time as an instructor for TestMasters as part of the terms of

       the settlement agreement.

       61.   Defendant Reiterman’s counsel informed Ms. Abid that

       Defendant Reiterman had lost his job offer with Skadden because he

       chose to pay Ms. Abid for damages arising from sexually assaulting her

       in 2014 as part of the terms of the settlement agreement.

       62.   The judge in the 2018 action dismissed Defendant Reiterman’s

       suit with prejudice.

       63.   The 2018 settlement agreement marked the second time since

       2016 that Defendant Reiterman has agreed to pay Ms. Abid for

       damages that are the result of a sexual assault Defendant Reiterman

       still claims he didn’t commit.

                         B. The California Lawsuit — 2019




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       64.   Around the Spring of 2019, Ms. Abid became aware of a man who

       was following her in Sarasota, Florida. This man, Nicholas Evans,

       formerly of ZapServe Investigations & Process Services (Evans is now

       self-employed at Evans Investigations), would later go on to stalk,

       harass, and intimidate Ms. Abid’s family in the 2019 Florida lawsuit.

       Evans followed Ms. Abid to her group therapy sessions and her day-to-

       day activities.

       65.   In April of 2019, Defendant Reiterman contacted Ms. Abid via

       new counsel. For the first time since Defendant Reiterman initiated

       legal actions against Ms. Abid, Defendant Reiterman was represented

       by female counsel. Defendant Reiterman alleged the same claims as the

       2018 suit, although now he purported to have new evidence against

       Ms. Abid.

       66.   In his demand letter to Ms. Abid, Defendant Reiterman stated

       that if she wanted to make all of his claims against her go away, she

       needed to write a sworn affidavit retracting her claims of sexual

       assault, explaining the falsity of her statements, and write that she had

       created all the defamatory Internet postings about Defendant


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       Reiterman. Defendant Reiterman stated that he would be sending Ms.

       Abid’s statement to the Bar Examiners of Washington D.C., New York,

       and California; the Dean and Associate Deans of Harvard Law School

       and Harvard Law School’s General Counsel; Defendant Reiterman’s

       former employer, TestMasters, his former prospective employer,

       Skadden, and anyone else of Defendant Reiterman’s choice.

       67.   Ms. Abid, feeling defenseless, scared, and once again in a familiar

       position with Defendant Reiterman exercising his authority in a

       position of power over her, sent a hasty email without legal counsel

       containing mere puffery to Defendant Reiterman’s counsel hoping that

       they would leave her alone. This email would later be used by

       Defendant Reiterman’s counsel to assert that Ms. Abid didn’t want to

       honor the terms of the settlement agreement when in reality all Ms.

       Abid wanted was for the protection the settlement agreement gave her

       from Defendant Reiterman’s abuse to stay in place.

       68.   In May of 2019, Defendant Reiterman served Ms. Abid at her

       group therapy session in Sarasota, Florida with a suit he filed in

       California Superior Court alleging nearly identical claims to the 2018


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       lawsuit. Defendant Reiterman’s lawsuit named Ms. Abid as “Doe” 1,

       though the other 9 Doe Defendants were not named.

       69.   Defendant Reiterman had hired Evans to watch Ms. Abid for

       months before serving her in Florida with a lawsuit filed in California.

       Defendant Reiterman knew full well that Ms. Abid lived in Sarasota,

       Florida, but outrageously claimed in his California suit that Ms. Abid

       lived near him and his mother in Santa Clara County, California.

       70.   Ms. Abid has never lived in California and only visited the state

       once when she was a child. Defendant Reiterman also outlandishly

       claimed that Ms. Abid and her “agents” had been stalking, harassing,

       and subjecting Reiterman to “violence” in California, which simply

       isn’t true. Moreover, Defendant Reiterman had no evidence

       whatsoever to support his claims.

       71.   On July 2, 2019, Ms. Abid filed a motion via counsel to dismiss

       the complaint, arguing that the California court lacked personal

       jurisdiction over her.




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       72.   On July 30, 2019, the California court granted Ms. Abid’s motion

       to dismiss on jurisdictional grounds and dismissed Defendant

       Reiterman’s action.

       73.   While Defendant Reiterman’s counsel claimed in the 2019

       Florida Complaint that the California Court noted it was “troubled” by

       “evidence” Defendant Reiterman presented supposedly linking Ms.

       Abid to the defamatory blog posts, the transcript from the court

       hearing shows that the Court didn’t make these statements.

       74.   The sole reason Defendant Reiterman engaged in vexatious

       litigation against Ms. Abid in California was to cause her undue

       financial and emotional distress.

       75.   At the conclusion of the California suit, Ms. Abid offered

       Defendant Reiterman’s counsel her cellphone and personal computer

       for inspection. Defendant Reiterman’s counsel declined. This was Ms.

       Abid’s attempt to end these harassing and vexatious lawsuits

       Defendant Reiterman was subjecting her to once and for all, yet

       Defendant Reiterman, knowing full well Ms. Abid was innocent,

       declined her electronics.


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        Reiterman’s Agent, Nicholas Evans, Stalks, Harasses, and Commits

                          Battery Against the Abid Family

       76.   Nicholas Evans, the man Defendant Reiterman hired to stalk,

       harass, and intimidate Ms. Abid’s family, and thus Reiterman’s

       “Agent,” is a one-time employee of the Bradenton police department.

       Evans made national headlines in 2007 when, according to a

       Gainesville Sun news article, he arrested a homeless woman and

       dragged her cart full of belongings alongside his patrol car for an hour.

       (https://www.gainesville.com/story/news/2007/01/19/officer-

       reassigned-over-shopping-cart-pull/31509325007/).

       77.   In a second incident, Evans violated a supervisor’s order and

       dragged another shopping cart alongside his car while driving on a

       public road. After these incidents, Evans was reassigned to desk duty

       and quit the Police Department shortly thereafter.

       78.   Beginning around September of 2019, Nicholas Evans, as

       Reiterman’s agent, began stalking and harassing Ms. Abid’s parents.

       Evans refused to identify himself, but repeatedly pressed Ms. Abid’s

       parents about the whereabouts of their daughter, Ms. Abid. Evans


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       often wore polarized sunglasses that obscured his eyes and would move

       in a physically imposing and aggressive manner that was meant to

       intimidate members of the Abid family.

       79.   Evans, as Reiterman’s agent, would follow Ms. Abid’s mother

       during her day-to-day activities, and even harassed her outside a local

       grocery store while she was loading groceries into her car. Evans

       threatened Ms. Abid’s mother, stating that if she didn’t reveal the

       whereabouts of her daughter, there would be trouble.

       80.   Evans, as Reiterman’s agent, began parking in the driveway of

       the Abid family home and would harass Ms. Abid’s parents as they left

       their family residence. Evans would often scream at the Abid family

       members, urging them to reveal Ms. Abid’s location.

       81.   In and around October 2019, Ms. Abid’s father called the

       Sarasota County Sheriff’s Department and reported Evans for

       harassment and stalking. Thereafter, the Sarasota County Sheriff’s

       Department offered nighttime patrol to Ms. Abid’s family for their own

       safety.




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       82.   Around November of 2019, Evans, as Reiterman’s agent,

       reappeared at the Abid residence where he climbed onto the family’s

       house up to a set of glass windows and banged on the windows with a

       flashlight while screaming “Federal subpoena! Exit the house

       immediately.” Ms. Abid’s family was utterly terrified and called the

       police, but Evans had run off by then.

       83.   In November of 2019, Evans, as Reiterman’s agent, once again

       reappeared at the Abid family home and knocked on a backdoor

       entrance to the house. Ms. Abid’s father opened the door and

       confronted Evans, demanding that he identify himself. Evans

       physically pushed Ms. Abid’s father away, at which point Ms. Abid’s

       father pushed him back. Evans then immediately ran away.

       84.   Defendant Reiterman’s counsel mentioned this situation in a

       declaration filed with the court, and stated that Ms. Abid’s father, a

       cardiologist dedicated to saving lives every day, initiated a physical

       altercation with Evans, which is absolutely false. Evans, as Reiterman’s

       agent, was the sole aggressor in all his interactions with members of




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       the Abid family and, at Defendant Reiterman’s command, engaged in

       a thuggish aggressive campaign against the Abid family.

       85.   At the suggestion of the Sarasota County Sheriff’s Department,

       Ms. Abid’s father spent a considerable sum of money installing security

       cameras all over his property so that if Evans returned, footage of his

       behavior would be caught on camera, which Ms. Abid’s father planned

       on turning over to law enforcement authorities so that Evans could be

       prosecuted for his illegal conduct.

         Reiterman’s Agents Stalk, Harass, Threaten, and Abuse Ms. Abid

                  While She’s Attending Law School in New York

       86.   In the fall of 2019, around the same time Ms. Abid’s family was

       being victimized by one of Defendant Reiterman’s agents, Ms. Abid

       was attending law school in New York. Ms. Abid noted that she was

       being followed by a white minivan for days on end and that a box of

       makeup had been left outside her door. In a particularly frightening

       incident, Ms. Abid called the New York Police Department (“NYPD”)

       to escort her from school to her residence after noting that a man was




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       following her and waiting in her school’s courtyard once her classes

       had ended for the day.

       87.   In yet another incident, one of Ms. Abid’s friends was followed

       by a man whose face was obscured with a baseball cap. The man told

       Ms. Abid’s friend that he would pay her for information about Ms.

       Abid. Ms. Abid’s friend ran away from him.

       88.   Ms. Abid notified the Director of Public Safety (“DPS”) at her

       school of her situation, who issued a safety warning to all security

       personnel on campus instructing them to ban Defendant Reiterman

       from her school’s campus and any individuals asking about Ms. Abid’s

       whereabouts. Ms. Abid and the DPS also discussed security measures

       she should take to protect herself, such as dressing in inconspicuous

       clothing and taking different routes to her residence every day so she

       couldn’t be followed easily. Ms. Abid was terrified that she would be

       physically harassed and accosted like her parents had been in Florida.

       89.   Around this time, Ms. Abid reported a break-in at her apartment

       to the NYPD. The door to her residence was so badly busted that it no

       longer fit in the door frame. While nothing was stolen, the NYPD


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       conducted a “sweep” of Ms. Abid’s residence to search for any cameras

       that the perpetrator could have hidden in her belongings. The NYPD

       asked Ms. Abid if she knew of any individuals who might want to harm

       her or who might want to see video or photographs of her undressed.

       Ms. Abid informed the NYPD about how Defendant Reiterman had

       sexually assaulted her, how she had been stalked by a man in Florida

       who worked for Defendant Reiterman, what Defendant Reiterman had

       subjected her family to, and how she had been stalked recently in New

       York by a man who she suspected also worked for Defendant

       Reiterman.

       90.   The NYPD advised Ms. Abid to move out of her residence

       immediately. The NYPD also suggested to Ms. Abid that she not pay

       for bills using her legal name because it could tip Reiterman off to her

       new location.

       91.   Thereafter, Ms. Abid informed her school about the incident and

       was permitted to move into school housing.




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       92.   Ms. Abid consulted with local shelters for victims of sexual

       violence for assistance in using a pseudonym to pay for bills and to

       coordinate other safety measures to ensure her well-being.

       93.   In and around December of 2019 and January of 2020, Ms. Abid

       received messages on a social media platform from a user identified as

       “~.” This user threatened to spread pornographic images and video of

       Ms. Abid, which Ms. Abid knew didn’t exist, and expressed an interest

       in creating a video of Ms. Abid in which she would be raped. As a result

       of this incident, Ms. Abid would later author two papers on Deepfakes

       to address ways to protect women from cyberstalking and online sexual

       violence.

       94.   As a result of all these events, Ms. Abid, who still suffers from

       PTSD due to Defendant Reiterman sexual assaulting her, began

       experiencing flashbacks. She developed a tremor in her right leg that

       was so bad her counsel had to physically restrain her leg from shaking

       during a 2020 evidentiary hearing. Ms. Abid also stopped sleeping,

       stopped experiencing her menstrual flow, and developed nodules in

       her neck, all while still a student in her first year of law school.


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                         C. The Second Florida Suit — 2019

       95.   In November of 2019, Ms. Abid’s parents were served with a

       subpoena. The Court’s Order authorized service of a “deposition

       subpoena” to determine the location of Ms. Abid. The subpoenas

       required production of

       “any documents reflecting Defendant Farah Ali Abid’s current address

       and physical whereabouts. As used herein, “documents” includes all

       “writings” of any nature within your possession, custody, or control,

       including but not limited to contracts, agreements, communications,

       correspondence, records, reports, journals, computer tapes or disks,

       emails, and text messages.”

       96.   The request was grossly overbroad and harassing. Moreover, it

       wasn’t remotely justifiable based either upon the purported need for

       the deposition or the Court’s prior order. Ms. Abid’s parents was utterly

       despondent at the prospect of having to betray their daughter, who

       feared for her safety.

       97.   After Ms. Abid’s parents had already been served with a

       subpoena, Evans once again reappeared at their property to serve them


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       papers that they were already due to receive from counsel they had

       retained. There was absolutely no legal reason Evans had for doing this

       except to terrorize Ms. Abid’s family.

       98.   In December of 2019, Ms. Abid’s parents retained counsel to

       quash the subpoena, but the Court denied their motion.

       99.   To protect her parents who were utterly distraught at having to

       betray their daughter’s location to Defendant Reiterman, Ms. Abid

       accepted service of the lawsuit via her parent’s counsel.

       100. At an evidentiary hearing conducted in Florida on February 24,

       2020, Defendant Reiterman’s lawyer on cross-examination revealed

       that he not only knew Ms. Abid’s location all along, but also the name

       of the school that she was attending. It’s obvious that Defendant

       Reiterman’s only reason for harassing and stalking Ms. Abid and her

       family was to inflict intense emotional anguish on the family and cause

       Ms. Abid, who Defendant Reiterman is obsessed with, more pain and

       suffering.

       101. The declarations that Defendant Reiterman’s counsel submitted

       to the court in which Evans details his stalking campaign of Ms. Abid’s


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       family are disturbing. In his report, Evans describes Ms. Abid’s

       mother’s physical appearance and makes guesses about her Muslim

       heritage. He also writes about how he spent hours over a period of days

       watching the family home and how he ran off once after Ms. Abid’s

       mother activated the house safety alarm, which alerts the local police

       department to an intruder at the residence. Ms. Abid’s mother did this

       after Evans had been relentlessly harassing her all morning. Chillingly,

       Defendant Reiterman’s counsel states that Evans had even taken video

       footage of Ms. Abid when she lived in Florida, which Defendant

       Reiterman’s counsel, and presumably Defendant Reiterman, had

       watched.

       102. On December 2, 2019, via counsel, Ms. Abid once again offered

       Defendant Reiterman’s counsel her cellphone, any electronics she

       owned, and her personal computer for inspection. Defendant

       Reiterman’s counsel steadfastly refused.

            Content of the Second Florida Lawsuit (2019) — Defendant

       Reiterman Hires a Fraud to Fabricate Evidence to Implicate Ms. Abid

                          in the Creation of the Blog Posts


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       103. In the 2019 Florida lawsuit, Defendant Reiterman alleged that

       he had definitive proof linking Ms. Abid to the defamatory material

       posted online about him.

       104. Defendant Reiterman included a “cybersecurity” report from a

       man named Michael Roberts in his complaint. Roberts is an Australian

       citizen   and   resident   and,    per   his   own   personal   website,

       (https://rexxfield.com/rexxfield-founder-michael-roberts/), holds no

       certification in cybersecurity, computer forensics or any computer

       related fields for that matter. In fact, Roberts doesn’t even hold a

       bachelor’s degree. Roberts is quite an infamous figure and a simple

       search on the Internet will reveal a plethora of shocking stories.

       105. For example, in a lawsuit dating back to March 2006, an

       engineering expert, Gregory Perry, who provided proprietary course

       materials to employees of the United States Department of Defense,

       sued Roberts for placing child pornography, which contained graphic

       depictions of child torture and molestation and other morally repulsive

       content, on Perry’s computers ¬¬¬after a business deal gone awry

       (https://www.slideshare.net/darrenmeade1/fedsuit-doc).               Perry


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       further alleged that Roberts unlawfully sold the plaintiff’s proprietary

       course materials to other countries for profit and claimed that Roberts

       himself        had      created        the        course          materials

       (https://www.slideshare.net/darrenmeade1/fedsuit-doc).

       106. In another shocking story, a former client of Roberts claims that

       in 2012 Roberts was preparing to purchase a coding hack called

       “injection source code” that allows users to manipulate the metadata

       of a website and completely erase its contents, which is illegal in the

       United States. Roberts’ actions apparently caught the interest of the

       attorney general of Arizona because Roberts was targeting a website

       called    ripoffreport.com,    which      is      based    in      Arizona

       (https://www.foxnews.com/tech/exclusive-online-reputation-

       manager-hacked-websites-to-inject-illegal-code).

       107. Roberts     was    also   featured      in    a   Techdirt     article

       (https://www.techdirt.com/2017/02/08/australian-guy-demands-

       techdirt-story-be-blocked-australia-over-comments/) for making a

       demand that an entire Techdirt article be removed from Google’s index

       because Roberts thought the article defamed him, even though it made


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       no mention of him. According to the author of the Techdirt article,

       Roberts had posted a number of conspiracy theories on the Techdirt

       site in the comments section of a separate article. An attached exhibit

       in the Techdirt article shows a demand letter Roberts sent to Google

       Inc. demanding that Google remove any Google search term results

       stating Roberts engaged in, among other things, computer hacking,

       harassing individuals online, extortion, cyber terrorism, fraud, perjury,

       and death threats.

       108. Roberts briefly lived in the United States in the early 2000s, but

       abruptly left after his wife at the time had shot and killed a man inside

       their family home. Roberts was initially named as a suspect in the

       murder, though all articles online that named him as a suspect have

       been removed from the Internet.

       109. Ms. Abid retained an American certified cybersecurity expert

       specializing in electronically stored information forensics from the

       Tampa, Florida area named Dwayne Denny to address Roberts’ report.

       Denny has thirty years of specialized knowledge and expertise in

       electronic surveillance gathering, counterintelligence, surveillance,


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       corporate security, digital forensics, data recovery, and related

       enterprise information technology. Denny also attended the February

       24, 2020, evidentiary hearing that Judge Jung called.

       110. Denny noted that in Roberts’ attempts to associate Ms. Abid with

       a Tutanota email address that Roberts claims effectively links Ms. Abid

       to all the defamatory Internet posts made about Defendant Reiterman,

       Roberts used an outdated and ineffective methodology. Moreover,

       Denny asserts that Roberts had not established a link between a blog

       post and the email address registered to that blog post —

       QueenFormation@tutanota.com. Denny asserts that the contents of

       Roberts’ emails to Ms. Abid and the mechanism he used to create his

       exhibits were all fabricated by Roberts and only reflect what Roberts

       sent, not what he received. Rather than admit that Roberts was unable

       to associate Ms. Abid with the Tutanota email account, Roberts made

       the unsupported claim that Ms. Abid used Google and Tor and Proxies

       to thwart his efforts.

       111.   Roberts     declared   that    he    sent    an     email    to

       QueenFormation@tutanota.com on January 6, 2019 at 8:02 PM, but


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       his declaration fails to include any standard cybersecurity custom, such

       as the metadata of the emails that he sent, which would have reflected

       crucial information such as the IP address of the sending computer or

       the systems he used to send the emails. Even the email addresses that

       Roberts sent his email to were truncated in his declaration, so it’s

       impossible to determine where Roberts actually sent his email. Roberts

       claims that he conducted this test email in a controlled environment,

       when in fact he sent emails to multiple recipients. To the extent that

       Roberts’ emails were sent to multiple parties at the same time, there is

       no way to differentiate or determine who actually opened and read

       Roberts’ email and thus tripped what he calls a “Trip Wire” (this is not

       standard terminology used by cybersecurity experts). In fact, Roberts

       failed to include any exhibits that would reflect Ms. Abid, or anyone

       opened and read Email B on January 16, 2019.

       112. Roberts alleges that Ms. Abid opened Email B from “behind the

       protection of Google Image Proxy IP address 64.233.173.160.” That

       was intentionally written to mislead the reader and have them believe

       that Ms. Abid had willfully taken steps to obfuscate her online identity,


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       which is simply not the case. Google introduced Google Image Proxy in

       2013 to provide a faster experience for users and reduce the spread of

       viruses and malicious code hidden in images. 64.233.173.160 is the IP

       address of Google Webservers located in Brooklyn. Google’s email

       server IP address 64.233.173.160 could potentially be found in any of

       Google’s 1.5 billion Gmail subscribers’ emails. The IP address

       64.233.173.160 in no way reflects the geographic location of the user or

       their IP.

       113. The cybersecurity industry standard and widely accepted

       methodology to locate a party or collect data from an email recipient is

       to use a Tracking Pixel. A tracking pixel is a 1×1 pixel (.gif) containing

       hidden HTML code which is loaded when a user visits a website or

       opens an email. It is useful for tracking user behavior and conversions.

       Roberts clearly renamed the well-known widely used methodology to

       “Trip Wire” in efforts to make what he did seem proprietary and more

       robust, or perhaps because Roberts doesn’t have a background in

       cybersecurity, so he doesn’t know what a Tracking Pixel is. In any

       event, Tracking Pixels often obtain the type of web-browser’s


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       information, the computer’s operating system, and the user’s Wide

       Area Network (WAN) IP address assigned by the user’s Internet

       Service providers (ISP). In other cases, without any interaction on the

       part of the recipient, tracking pixels will return the computer’s Local

       Area Network (LAN) IP address. The LAN IP is useless in determining

       the user’s identity and location.

       114. Roberts       declared         he     sent     an      email      to

       QueenFormation@TUTANOTA.com in efforts to uncover the user’s

       identity and location. The data Roberts alleges he received as a result

       of   his   “Trip   Wire”   was      the   IP   address,   192.168.116.20.

       192.168.116.20 is not an external WAN IP used on the internet. In fact,

       any IP address starting with the prefix “192.168.” is not an Internet IP

       address. It is an IP address range reserved for LANs. In fact, the

       majority of routers sold or leased in the United States of America start

       with 192.168. As such, it would be impossible to ascribe an IP address

       starting with 192.168 to anyone, much less Ms. Abid. The IP address,

       192.168.116.20 would only be useful if Roberts had: A) obtained the

       user’s WAN IP address, B) Subpoenaed the ISP to identify the party


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       who used the IP on the date of his email, C) Obtained the Router that

       was associated with the WAN IP, and D) analyzed the router to identify

       the device that used the LAN IP, 192.168.116.20. Roberts jumped to a

       conclusion by omitting steps A-C.

       115. Before Roberts could claim his “Trip Wire” successfully linked

       Ms.   Abid’s     FALI@ABID@Gmail.com              email   account   to

       QueenFormation@TUTANOTA.com, the results data would need to

       reflect the Router WAN IP address for both responses to be the same.

       This was not the case. Roberts received no router WAN IP address and

       the information he did receive was conflicting.

       116. Unable to obtain any evidence that Ms. Abid was associated to

       QueenFormation@TUTANOTA.com, Roberts, in paragraph 10 of his

       declaration, abandons science and relies solely upon his “experience”

       to associate Ms. Abid with the QueenFormation@TUTANOTA.com

       email and four WordPress posts.

       117. Roberts attempted to identify the owner of the email address

       QueenFormation@TUTANOTA.com and failed.




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       118. Roberts alleges that Ms. Abid opened her email from behind the

       protection of Tor. The Tor Network is a free worldwide internet traffic

       overlay that consists of over seven thousand relays that assist users in

       hiding their internet activity from network surveillance. To support his

       claims, Roberts offered up the LAN IP address, 192.168.116.20, which

       is not a Tor proxy IP address.

       119. Roberts’ declaration and exhibits offer no evidence that would

       reflect Ms. Abid sent electronic communications from New York,

       Florida, or anywhere for that matter.

       120. None of the information acquired via subpoena implicates Ms.

       Abid and much of its written in an editorial way to falsely lead the

       reader into assuming that the publishing of these Blog posts was

       somehow done via conspiratorial methods. For example, Defendant

       Reiterman states that Tutanota.com and Yandex.com email addresses

       were used in publishing these blog posts and are “rare,” and suspect

       when in fact both are relatively popular email services originating in

       Germany and Russia that enjoy millions of users.




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       121. Even the IP address, 186.65.13591 that Defendant Reiterman

       says is registered to the Imgur and Scribd accounts used in the blog

       posts isn’t a valid IP address. Yet Defendant Reiterman claims that this

       IP address is a data center in Stockholm, Sweden used by nefarious

       individuals who want to conceal their identity on the internet.

       122. Defendant Reiterman’s counsel referred to Roberts’ declaration

       as part of a “mountain of evidence” indicating that Ms. Abid was

       responsible for the Blog Posts and all the sexual assault allegations

       surrounding Defendant Reiterman’s time at Harvard Law School. Yet,

       there’s not one iota of evidence that Ms. Abid had anything to do with

       the   “defamatory     campaign”      Defendant   Reiterman   says   she

       singlehandedly spearheaded.

       123. Defendant Reiterman, by his own account, has spent over $1

       million in pursuing Ms. Abid with his vexatious litigation and appears

       to have an unending stream of income at his disposal to continue

       harassing Ms. Abid.

       124. For the entirety of a court-ordered mediation conference that

       took place in May of 2020, Defendant Reiterman’s counsel repeatedly


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       demanded that Ms. Abid sign a sworn statement declaring that

       Defendant Reiterman never sexually assaulted her and that she created

       all the Internet sites about Defendant Reiterman. Ms. Abid refused.

       Defendant Reiterman could hold a gun up to Ms. Abid’s head and she

       still would not write such a statement because it’s untrue.

       Ms. Abid has Been Contacted by Other Parties about Reiterman’s

       Sexual Misconduct

       125. Ms. Abid served as a witness in the Washington D.C., California,

       New York bar associations, and National Conference of Bar Examiners’

       (NCBE) character and fitness investigation of Defendant Reiterman.

       126. Each state in the United States has an independent licensing

       board that conducts its own painstaking investigations of persons

       applying to practice law in that state. Aside from passing a state’s bar

       exam, individual applicants must pass an extremely rigorous

       “character and fitness” assessment in which the state conducts a

       thorough background check of applicants to determine if they possess

       the requisite moral character to be an attorney in the U.S.A. According

       to a recent Reuters article, less than 1% of California state bar


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       applicants are denied admission each year for failing the fitness and

       character                                                   assessment

       (https://www.reuters.com/legal/legalindustry/fake-lawyer-real-

       question-do-bar-morality-requirements-serve-purpose-2021-11-23/).

       Once applicants are denied admission, they bear the burden of proving

       by a preponderance of the evidence that they possess the character and

       fitness required of members of the bar. According to the NCBE, certain

       types of reported conduct are likely to trigger further investigation,

       including unlawful conduct, academic misconduct, neglect of financial

       responsibilities, employment misconduct, and violations of court

       orders. Evidence of mental or emotional instability and evidence of

       substance   abuse    issues   may    also   trigger   an   investigation

       (https://abaforlawstudents.com/2013/12/01/bar-hurdle-character-

       fitness-requirement/).

       127. By his own account, Defendant Reiterman has been denied

       admission to practice law in the United States. Yet, Defendant

       Reiterman continues to cast blame and assert that Ms. Abid is the

       reason he can’t practice law in the U.S.A. The reality is that Defendant


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       Reiterman’s own conduct have placed him in the situation that he finds

       himself in.

       128. Defendant Reiterman’s persistent stalking and aggressive

       harassment of Ms. Abid and her family is extreme, outrageous and has

       caused Ms. Abid, her friends, and her family severe trauma. Ms. Abid

       respectfully requests that this Court do everything in its power to

       mitigate Ms. Abid’s existing harm and prevent Defendant Reiterman

       from continuing his campaign of abuse.

                                       COUNT I

                            MALICIOUS PROSECUTION

       129. Ms. Abid realleges the allegations contained in Paragraphs 64

       through 75, as if set forth fully herein.

       130. Defendant Reiterman instituted his Complaint and Injunction

       against Ms. Abid in California knowing it was without any legal basis

       whatsoever in fact or law and without any prima facie cause of action

       in California, whatsoever, and Ms. Abid ultimately prevailed in the

       California case when the judge dismissed the action for lack of

       jurisdiction, this having a bone fide termination.


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       131. That shortly after the California court dismissed Defendant

       Reiterman’s suit for lack of jurisdiction, Defendant Reiterman filed a

       motion for injunction and suit against Ms. Abid in Florida in 2019.

       132. Defendant Reiterman’s Florida Complaint alleged nearly

       identical matters to the California complaint and made further

       additional false allegations.

       133. Defendant Reiterman wrongfully initiated and maintained these

       civil proceedings against Ms. Abid. These actions demonstrate a clear

       intent to willfully, wantonly, oppressively, and maliciously cause Ms.

       Abid to be prosecuted merely to coerce Ms. Abid to write a retraction

       falsely stating that Defendant Reiterman didn’t sexually assault her.

       134. As a direct and proximate result of these frivolous and malicious

       lawsuits, one of which Ms. Abid prevailed in when the judge ordered it

       to be dismissed for lack of jurisdiction, Ms. Abid has paid or incurred

       expenses for attorney fees and costs in defending the frivolous and

       malicious civil complaints filed by Defendant Reiterman.




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       135. As a further direct and proximate result of Defendant

       Reiterman’s willful misconduct, Ms. Abid reserves the right to make a

       claim for Punitive Damages pursuant to Fla. Stat. 768.72.

             WHEREFORE, Ms. Abid respectfully requests that this Court

       enter judgment in her favor and against Defendant Reiterman and

       order and award of compensatory damages to make Ms. Abid whole for

       the harm caused to her, in an amount to be determined at trial but

       believed to exceed $75,000. Upon proof, Ms. Abid further requests an

       award of punitive damages to punish Defendant Reiterman for his

       outrageous conduct, in an amount to be determined at trial.

                                    COUNT II

             INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

       136. Ms. Abid incorporates by reference paragraphs 1 through 128 as

       if fully set forth herein.

       137. Defendant Reiterman’s conduct, as discussed above, was

       intentional. In the alternative, his conduct was reckless, in that he

       intended to terrorize Ms. Abid and her friends and family via methods

       of stalking, harassment, extortion, intimidation, cyberstalking, and


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       trespass when he knew or should have known that emotional distress

       to Ms. Abid would result.

       138. Defendant Reiterman’s conduct to Ms. Abid was outrageous,

       especially his direction to his agent Nicholas Evans to commit battery

       against Ms. Abid’s father, which caused Ms. Abid intense emotional

       anguish. Defendant Reiterman’s conduct exceeds all bounds of

       decency and is to be regarded as odious and utterly intolerable in a

       civilized community.

       139. Defendant Reiterman’s conduct caused Ms. Abid extreme

       emotional distress. For the past two years, Ms. Abid has lived in a state

       of humiliation, and fear that at any moment, Defendant Reiterman

       could be spearheading a new campaign to abuse, harass, and stalk her

       and her family, regain psychological control over Ms. Abid, and induce

       her to commit suicide.

       140. As a direct result of Defendant Reiterman’s conduct as alleged

       herein, Abid has suffered a discernible physical injury.

       141. Abid’s physical injury has been caused by the psychological

       trauma resulting from Reiterman’s conduct as alleged herein.


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       142. Defendant       Reiterman’s actions in causing and engaging in

       intentional infliction of emotional distress have caused injury to Abid.

             WHEREFORE, Ms. Abid respectfully requests that this Court

       enter judgment in her favor and against Defendant Reiterman and

       order and award of compensatory damages to make Ms. Abid whole for

       the harm caused to her, in an amount to be determined at trial but

       believed to exceed $75,000. Ms. Abid further requests an award of

       punitive damages to punish Defendant Reiterman for his outrageous

       conduct, in an amount to be determined at trial.

                                         COUNT III

                                    ABUSE OF PROCESS

       143. Ms. Abid incorporates by reference paragraphs 1 through 128 as

       if fully set forth herein.

       144. Defendant Reiterman has willfully and intentionally made

       illegal, improper, or perverted use of process by maintain the lawsuits

       described above on a victim if his own misconduct.




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       145. Defendant Reiterman had an ulterior motive and purpose in

       exercising the process which was designed for revenge and an effort to

       punish Abid for issues he erroneously blamed her for.

       146. Defendant Reiterman’s actions through abuse of process have

       caused injury to Abid.

              WHEREFORE, Ms. Abid respectfully requests that this Court

       enter judgment in her favor and against Defendant Reiterman and

       order and award of compensatory damages to make Ms. Abid whole for

       the harm caused to her, in an amount to be determined at trial but

       believed to exceed $75,000. Ms. Abid further requests an award of

       punitive damages to punish Defendant Reiterman for his outrageous

       conduct, in an amount to be determined at trial.

                                        COUNT IV

                                    INJURIOUS FALSEHOOD

       147.   Ms. Abid incorporates by reference paragraphs 1 through 128 as

       if fully set forth herein.

       148. As alleged herein, Defendant Reiterman has made several false

       and defamatory statements about Abid.


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       149. Defendant Reiterman has published (written or orally) these

       false and defamatory statements about Abid to a third party.

       150. Defendant Reiterman has made these defamatory statements

       regarding Abid with the requisite intent and with malice.

       151. Defendant     Reiterman’s actions by engaging in injurious

       falsehoods have caused injury to Abid.

            WHEREFORE, Ms. Abid respectfully requests that this Court

       enter judgment in her favor and against Defendant Reiterman and

       order and award of compensatory damages to make Ms. Abid whole for

       the harm caused to her, in an amount to be determined at trial but

       believed to exceed $75,000. Ms. Abid further requests an award of

       punitive damages to punish Defendant Reiterman for his outrageous

       conduct, in an amount to be determined at trial.

                          PRAYER FOR RELIEF

 WHEREFORE, Plaintiff Ms. Abid respectfully requests the following

 relief:

       A.   That this Court enter judgment in Ms. Abid’s favor and against

    Defendant Reiterman;



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       B.    That this Court enter an order preliminarily and permanently

    enjoining Defendant Reiterman, and all of his respective officers, agents,

    servants, representatives, attorneys, assigns and successors in interest,

    and all other persons acting in concert with him, from continuing to

    harass and stalk Ms. Abid and her family;

       C.    That this Court enter an order awarding compensatory damages

    to Ms. Abid resulting from Defendant Reiterman’s intentional infliction

    of emotional distress, harassment, and stalking, in an amount according

    to proof at trial but believed to exceed $75,000.00;

       D.    That this Court enter an order awarding punitive damages to

    Ms. Abid, sufficient to punish and deter Defendant Reiterman’s

    intentional and malicious conduct;

       E.    That Ms. Abid be awarded his reasonable attorneys’ fees and

    costs for prosecuting this action; and

       F.    That Ms. Abid be granted such further relief as the Court may

    deem just and equitable.

             PLAINTIFF ABID HEREBY DEMANDS A TRIAL BY

       JURY

 Dated this day of May 2, 2022               Respectfully submitted,



                                             /s/ Luke Lirot
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                                              Attorney for
                                              Defendant/Counterplaintiff Abid

                         CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that on May 2, 2022, I electronically filed the

 foregoing with the Clerk of the Court by using the CM/ECF system which will

 send a notice of electronic filing to all parties in this case.

                                              /s/Luke Lirot
                                              Luke Lirot, Esquire
                                              Florida Bar Number 714836




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